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    United States of America                       22-3084



        Lucas Denney                              22-cr-00070




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         Lucas Denney                                22-cr-00070




This Court sentenced Defendant Denney to 52-months of imprisonment applying 4-
  point enhancement under U.S.S.G. § 2A2.2(b)(2)(B) and a 2-point enhancement
under U.S.S.G. § 2A2.2(b)(1). Defendant Denney still takes the same position as he
 did during sentencing—the 4-point and 2-point enhancements do not apply. Thus,
             Defendant Denney wishes to raise those issues on appeal.
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